                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA



UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:10-cr-139
v.                                                    )
                                                      )       COLLIER / LEE
KRISTINA SHAE ATKINS                                  )
                                                      )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the one-count

Indictment; (2) accept Defendant’s plea of guilty to Count One; (3) adjudicate Defendant guilty of

the charges in Count One of the Indictment; (4) defer a decision on whether to accept the plea

agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

matter (Court File No. 25). Neither party filed a timely objection to the report and recommendation.

After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

recommendation (Court File No. 25) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to the charges in Count One is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges in Count One;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

               and

       (5)     Defendant SHALL REMAIN in custody until sentencing in this matter which is



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            scheduled to take place on Thursday May 26, 2011 at 2:00 p.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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